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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)          ‫ ܆‬Original    ‫ ܆‬Duplicate Original

            LODGED
     CLERK, U.S. DISTRICT COURT      UNITED STATES DISTRICT COURT
     9/30/21                                             for the
  CENTRAL DISTRICT OF CALIFORNIA
                RO
   BY: ____________BB______ DEPUTY          Central District of California                         Sept 30 2021
 United States of America                                                                                  ib




                    v.
                                                                   Case No. 2:21-mj-04539-DUTY
 ARTHUR MURADYAN,

                    Defendant


                                   CRIMINAL COMPLAINT BY TELEPHONE
                                  OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of September 8, 2021 in the county of Los Angeles in the Central District of California, the

defendant violated:

            Code Section                                           Offense Description

            21 U.S.C. § 841(a)(1)                                  Distribution of a Controlled Substance

         This criminal complaint is based on these facts:

          Please see attached affidavit.

         _ Continued on the attached sheet.


                                                                                 /s/ Blake MacLearnsberry
                                                                                  Complainant’s signature

                                                                           Blake MacLearnsberry, ATF SA
                                                                                  Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                 September 30, 2021
                                                                                      Judge’s signature

 City and state: Los Angeles, California                           Hon. Alexander F. MacKinnon, U.S. Magistrate
                                                                                      Judge
                                                                                  Printed name and title
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                               AFFIDAVIT

I, Blake MacLearnsberry, being duly sworn, declare and state as

follows:

                            PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of a criminal

complaint and arrest warrant against ARTHUR MURADYAN

(“MURADYAN”), for a violation of 21 U.S.C. § 841(a)(1):

distribution of a controlled substance.

     2.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested search warrant

and does not purport to set forth all of my knowledge or

investigation into this matter.      Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and part only.

                           BACKGROUND OF AFFIANT

     3.      I am a Special Agent (“SA”) with the Bureau of

Alcohol, Tobacco, Firearms and Explosives (“ATF”), United States

Department of Justice, and have been so employed since 2019.

Prior to being employed as an ATF Special Agent, I was an

accountant for approximately six years working in both public

accounting and corporate accounting.       I have performed reviews,

compilations, tax preparation, internal audits, and many other

accounting tasks and am well versed in audit practice and

procedure, Internal Revenue Codes, and other taxation law.
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     4.   I graduated from Seattle University with Bachelor of

Arts degrees in Accounting and Marketing.        I also graduated from

the ATF’s Special Agent Basic Training and from the Department

of Homeland Security’s Criminal Investigator Training Program.

I received training and have experience in the trafficking of

firearms and controlled substances, including but not limited to

the identification of controlled substances and the use of coded

language, arson, and explosives.      I participated in dozens of

investigations involving the illegal sales, transfer, and

possession of firearms and controlled substances and interviewed

defendants, informants, and witnesses with first-hand knowledge

of methods for trafficking the same.       Additionally, I

participated in many aspects of firearms and gang

investigations, including conducting surveillance and the use of

confidential informants and undercover (“UC”) agents to make

controlled purchases of controlled substances and/or firearms.

                         SUMMARY OF PROBABLE CAUSE

     5.   Between August and September 2021, during recorded and

monitored meetings, an ATF confidential informant (the “CI”)

purchased firearms on multiple occasions from MURADYAN.

Specifically:

          a.    On August 25, 2021, MURADYAN sold the CI what

appeared to be a self-manufactured 1 AR-15 style semi-automatic

rifle with no serial number and a corresponding 10-round

magazine, a 9mm caliber semi-automatic handgun with a

     1 A “self-manufactured” firearm, also known as a “ghost
gun,” is a firearm that is made from component parts and does
not have a serial number.

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corresponding 8-round magazine, and a Glock 9mm caliber semi-

automatic handgun with a corresponding 6-round magazine.

          b.    On September 2, 2021, MURADYAN sold the CI what

appeared to be a self-manufactured AR-15 style short barrel

rifle with no serial number and a corresponding 10-round

magazine, and a Ruger .22 caliber semi-automatic handgun with a

corresponding .22 caliber magazine.

          c.    On September 8, 2021, MURADYAN sold the CI what

appeared to be a Glock machinegun conversion device, a 9mm

caliber semi-automatic handgun with a corresponding 12-round

high capacity magazine, and approximately one pound of suspected

methamphetamine.

          d.    MURADYAN arranged to sell the CI a machinegun, an

AR-15 style rifle, two handguns, and a pound of methamphetamine

on September 29, 2021.

     6.   During the execution of a search warrant at MURADYAN’s

residence on the afternoon of September 29, 2021, law

enforcement officers seized approximately 20 firearms, including

a suspected sawed-off shotgun and a suspected AK-47 rifle;

hundreds of rounds of assorted ammunition; and firearms and

ammunition component parts.

     7.   DEA lab results confirmed that the substance MURADYAN

sold the CI on September 8, 2021 tested positive for 423 grams

of methamphetamine.

     8.   The AR-15 style short barrel rifle MURADYAN sold the

CI on September 2, 2021 was determined to be a rifle having a




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barrel of less than 16 inches in length, and thus qualifies as a

“firearm” as defined in 26 U.S.C. § 5845(a)(3).

           a.    As such, pursuant to 26 U.S.C. § 5861(d),

MURADYAN was required to register this firearm with the National

Firearms Registration and Transfer Record.        MURADYAN does not

have any firearms registered to him.

           b.    Also pursuant to 26 U.S.C. 5861(i), this firearm

was required to have a serial number.       This firearm had no

serial number.

     9.    The Glock machinegun conversion device MURADYAN sold

the CI on September 8, 2021 was determined to be a part designed

and intended solely and exclusively for use in converting a

weapon into a machinegun.     It thus qualifies as a “firearm” as

defined in 26 U.S.C. § 5845(a)(6) and a “machinegun” as defined

in 26 U.S.C. § 5645(b).

           a.    As such, pursuant to 18 U.S.C. § 922(o), it was

unlawful for MURADYAN to possess the machinegun.

           b.    Also, pursuant to 26 U.S.C. § 5861(d), MURADYAN

was required to register this firearm with the National Firearms

Registration and Transfer Record.      MURADYAN does not have any

firearms registered to him.

           c.    Also pursuant to 26 U.S.C. 5861(i), this firearm

was required to have a serial number.       This firearm had no

serial number.

     10.   MURADYAN does not possess a federal firearms license.




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     11.   MURADYAN has two felony convictions for burglary, and

as such, he is prohibited from possessing firearms or

ammunition.

                        STATEMENT OF PROBABLE CAUSE

     12.   Based on my training and experience, my knowledge of

and participation in the investigation described below, my

review of audio and video recordings, my discussions with the

CI, my review of text messages and recorded phone calls between

MURADYAN and the CI, my review of reports and records, and my

conversations with other law enforcement agents, I know the

following facts:

     A.    Background of Investigation of MURADYAN

     13.   On or about July 28, 2021, ATF Task Force Officer

(“TFO”) Detective Christopher Vasquez and I were contacted by

Glendale Police Department Officer Dan Buzzard.         Officer Buzzard

stated that he was investigating Arthur MURADYAN for illegally

selling firearms to various gang members within the San Fernando

Valley, in the City of Los Angeles, Central District of

California.

     14.   On August 11, 2021, TFO Vasquez instructed the CI 2 to



     2 The CI is working for law enforcement in return for
monetary compensation. The CI was convicted of RICO charges
over 10 years ago and served 2 years in prison. The CI has
other convictions, including a 1998 felony conviction for
possession of a controlled substance; misdemeanor convictions
for DUI in 2004 and 2006; and misdemeanor convictions for
driving on a suspended/revoked license in 2006, 2014, and 2018.
The CI also worked for law enforcement in exchange for leniency
following sentencing. The CI has assisted investigators in
multiple investigations, and has provided credible and reliable
information.

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be introduced to MURADYAN by another confidential informant

working with a different law enforcement agency (“CI-2”). 3

During recorded and monitored operations on August 11 and August

17, 2021, the CI was introduced to MURADYAN by CI-2, and during

these operations, the CI and CI-2 purchased firearms from

MURADYAN.

     B.     Overview of Controlled Purchases of Firearms from
            MURADYAN

     15.    Before each of the purchases of firearms from MURADYAN
discussed below, the CI was provided with ATF funds for the

purchase and was equipped with audio/video recording devices and

a live audio transmitting device.

     16.    Before and after each of the purchases of firearms

from MURADYAN discussed below, the CI was searched for

contraband and was found not to have any other firearms or

contraband on him/her.

     17.    After each of the purchases of firearms from MURADYAN

discussed below, law enforcement met with the CI and took

custody of the purchased firearms and contraband, transported

them to the ATF Los Angeles Field Division, and booked them into

ATF property.




     3 CI-2 is working for law enforcement in return for leniency
consideration for pending charges of identity theft and felon in
possession of a firearm. CI-2 has prior felony convictions for
identity theft and unauthorized use of personal identifying
information in 2014, as well as unauthorized use of personal
identifying information and grand theft in both 2009 and 2010.
The CI has assisted investigators and has provided credible and
reliable information.

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     18.    All phone calls and text messages made to and from the

phone number that the CI uses for this investigation have been

recorded and/or verified by law enforcement. 4

     C.     August 25, 2021: MURADYAN Sells the CI Three Firearms
            and Ammunition

     19.    On August 25, 2021, TFO Vasquez instructed the CI to

purchase an AR-15 style rifle and two handguns from MURADYAN.

     20.    At approximately 2:00 p.m., the CI arrived at the Best

West Car Wash located at 8263 Laurel Canyon Boulevard, North
Hollywood, California and waited for MURADYAN’s arrival.

     21.    At approximately 2:35 p.m., surveillance units

observed MURADYAN arrive at the car wash and park near the CI’s

location.   Surveillance units observed the CI enter the front

passenger seat of MURADYAN’s vehicle.

     22.    Based on my review of reports, the CI’s audio and

video recordings, and my conversations with other law

enforcement agents, I know the following:

            a.   Inside the vehicle, MURADYAN produced firearms

and gave them to the CI.     These firearms included, specifically:

                 i.    One self-manufactured, AR-15 style, .556

caliber, semi-automatic rifle, bearing no serial number, and a

corresponding 10 round, .556 caliber magazine;

                 ii.   One Smith & Wesson, M&P9, 9mm caliber, semi-

automatic handgun, bearing serial number HVD3909, and a


     4 I have reviewed all of the recorded calls described below,
and, as I am familiar with MURADYAN’s voice as a result of my
work on this investigation, I recognized MURADYAN as the speaker
and user of telephone numbers (310) 855-4479

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corresponding 8 round, 9mm caliber magazine; and

                iii. One Glock, Model 43, 9mm caliber, semi-

automatic handgun, bearing serial number AFVN022, and a

corresponding 6 round, 9mm caliber magazine.

                      (I)   Subsequent to the purchase of firearms

on August 25, 2021, I learned that ATF Special Agent James

Gustaw had determined that this firearm had originally been

purchased in the Las Vegas area of Nevada by an individual other

than MURADYAN and therefore had been transported across

interstate lines to California.

           b.   The CI gave MURADYAN $3,000 for the AR-15 style

rifle, $2,000 for the Smith and Wesson handgun, and $2,000 for

the Glock handgun.

           c.   After the money exchange, the CI, with MURADYAN’s

assistance, carried the firearms to the CI’s vehicle and placed

them inside.

           d.   During the controlled purchase, MURADYAN provided

the CI with his cellular phone number of (310) 855-4479.          The CI

also provided MURADYAN with the CI’s phone number.

     23.   In September of 2021, ATF Interstate Nexus Expert

Alexander Liwienski examined the serialized firearms that were

obtained from MURADYAN and confirmed that the firearms were

manufactured outside of the State of California.

     D.    MURADYAN Calls and Texts the CI About Additional
           Firearms Transactions

     24.   On August 30, 2021, MURADYAN, using the phone number

he provided to the CI, called the CI regarding additional



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firearms purchases.     Based on my review of the recording of this

phone call, I learned the following:

            a.    During the call, the CI asked who the call was

from, and MURADYAN answered, “Arthur.”

            b.    During the conversation, the CI and MURADYAN

spoke about buying and selling firearms.         The CI, using coded

language, asked MURADYAN if he had some “different ones.”

                  i.   Based on my training and experience, and

knowledge of this investigation, I understood that “different

ones” was coded language referring to various types of firearms.

            c.    MURADYAN then told the CI, “I’m not home right

now, let me get home and I’ll take some pictures and I’ll send

it to you.”

                  i.   Based on my training and experience and my

participation in this investigation, I believe MURADYAN was

referring to firearms he kept at his residence when he stated

that he would “let me get home and I’ll take some pictures” to

send to the CI.

      25.   Later that day, MURADYAN, using the same cell phone

number, texted multiple pictures of firearms to the CI.           Based

on my review of the photographs, I know the following:

            a.    Seven photographs sent by MURADYAN depicted seven

semi-automatic handguns;

            b.    One photograph depicted one shotgun style

revolver;

            c.    One photograph depicted one AK-47 style rifle

with an extended magazine; and



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             d.   One photograph depicted one AR-15 style rifle.

      26.    On August 31, 2021, the CI spoke on the phone with

MURADYAN, who used the same phone number, about purchasing the

firearms of which MURADYAN had sent pictures.         Based on my

review of the recording of this conversation, I know the

following:

             a.   During the phone call, MURADYAN agreed to sell

the CI an AR-style rifle and a Ruger pistol.         MURADYAN and the

CI repeatedly used the terms “AR” and “Ruger” on the call.

      27.    Additionally, the CI asked about purchasing a “Glock

switch,” which MURADYAN agreed to sell to the CI for $600.

             a.   Based on my training and experience, a “Glock

switch” is a device that makes a semiautomatic handgun into a

fully-automatic machine gun.

      E.     September 2, 2021: MURADYAN Sells the CI an
             Unregistered and Unserialized Short Barrel AR-15 Style
             Rifle and a Stolen Pistol, and Discusses Selling a
             Machinegun Conversion Device and a Grenade Launcher

      28.    At approximately 3:00 p.m. on September 2, 2021, the

CI arrived at the Best West Car Wash located at 8263 Laurel

Canyon Boulevard, North Hollywood, California and waited for

MURADYAN’s arrival.

      29.    At approximately 3:30 p.m., surveillance units

observed MURADYAN exit his residence and enter his vehicle,

which was parked in the driveway of his residence.          Surveillance

units followed MURADYAN and observed him arrive at the car wash

and park near the CI’s location.       Surveillance units observed

the CI enter the front passenger seat of MURADYAN’s vehicle.


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       30.    Based on my review of reports, the CI’s audio and

video recordings, and my conversations with other law

enforcement agents, I know the following:

              a.   Inside the vehicle, MURADYAN produced firearms

and gave them to the CI.      The items included, specifically:

                   i.    One self-manufactured, short-barreled, .556

caliber, semi-automatic, AR-15 style rifle, bearing no serial

number with a corresponding 10 round, .556 caliber magazine; and

                   ii.   One Ruger, SR-22P, .22 caliber, semi-

automatic handgun, bearing serial number 360-25303, with a

corresponding .22 caliber magazine.

              b.   The CI gave MURADYAN $3,000 for the AR-15 style

and $2,000 for the Ruger handgun.

              c.   During the controlled purchase, MURADYAN told the

CI that the “Glock switch” was still being made and that

MURADYAN would bring and sell it to the CI at some point in the

future.      MURADYAN also told the CI that MURADYAN had a grenade

launcher that he would sell to the CI.        Additionally, the CI

asked MURADYAN if MURADYAN could sell the CI any

methamphetamine, to which MURADYAN responded affirmatively and

said he would sell the CI methamphetamine the next time they

met.

              d.   After the controlled purchase concluded, the CI

exited MURADYAN’s vehicle with the firearms, carried them to the

CI’s vehicle, and placed them inside.

       31.    In September of 2021, ATF Interstate Nexus Expert SA

Tiffany Lamphere examined the self-manufactured, AR-15 style,



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.556 caliber, semi-automatic rifle, bearing no serial number,

purchased from MURADYAN on September 2, 2021.         Based on my

review of reports, I know the following:

             a.   The rifle was determined to have a barrel of less

than 16 inches and therefore qualifies as a “firearm” as defined

in Title 26 U.S.C. § 5845(a)(3).

             b.   Furthermore, the rifle bore no marks of or serial

number, as required by 26 U.S.C. § 5842.

      32.    In September of 2021, ATF TFO Williams conducted a

firearm inquiry on the Ruger handgun purchased from MURADYAN,

using a California firearms database and the Ruger’s serial

number.     Based on my conversation with TFO Williams, I learned

the following:

             a.   The Ruger handgun had been reported stolen to the

Henderson Police Department located in Henderson, Nevada on

December 04, 2018.

      33.    In September of 2021, ATF SA Alexander Liwienski

examined the Ruger handgun purchased from MURADYAN and confirmed

that it was manufactured outside of the State of California.

      F.     September 8, 2021: MURADYAN Sells the CI a Machinegun
             Conversion Device, a Semi-Automatic Pistol, and
             Approximately One Pound of Suspected Methamphetamine

      34.    In the days after the controlled purchase on September

2, 2021, the CI and MURADYAN spoke in a series of recorded phone

calls.     Based on my review of the recordings of these

conversations, I know the following recordings:




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            a.    During their phone calls, MURADYAN indicated to

the CI, in substance and in part, that he had a .44 caliber

revolver and a 9mm caliber firearm to sell, as well as a “Glock

switch.”

            b.    MURADYAN and the CI also discussed, in substance

and in part, the quantity of the methamphetamine that the CI was

going to purchase on September 8, 2021.        MURADYAN stated to the

CI that the price of the pound of methamphetamine was $1,800.

      35.   On September 8, 2021, at approximately 6:23 p.m., the

CI, in a recorded telephone call, called MURADYAN at the same

phone number.    Based on my review of the recording of this phone

call, I know the following:

            a.    MURADYAN and the CI discussed, in substance and

in part, the location and time of the purchase of firearms and

methamphetamine.       MURADYAN stated to the CI, “I got everything

ready to go.     It’s all at the house. I just have to grab it real

quick.”

                  i.     Based on my training and experience and my

participation in this investigation, I believe that MURADYAN was

referring to firearms and methamphetamine when he stated “I got

everything ready to go.”      Further, I believe MURADYAN was

referring to his residence when he stated “It’s all at the

house.    I just have to grab it real quick.”

      36.   At approximately 7:15 p.m., the CI arrived at the Best

West Car Wash located at 8263 Laurel Canyon Boulevard, North

Hollywood, California and waited for MURADYAN’s arrival.




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      37.   At approximately 7:43 p.m., surveillance units

observed MURADYAN’s second vehicle stop and park on the street

in front his residence.

      38.   Surveillance units then observed MURADYAN drive away

from his residence in his second vehicle and later arrive to the

car wash at approximately 7:55 p.m., parking near the CI’s

location.   Surveillance units observed the CI enter the front

passenger seat of MURADYAN’s second vehicle.

      39.   Based my review of reports, the CI’s audio and video

recordings, and my conversations with other law enforcement

agents, I know the following:

            a.   Inside the vehicle, MURADYAN produced the

firearms and methamphetamine and gave them to the CI.           The items

included, specifically:

                 i.    One Glock machinegun conversion device;

                 ii.   One FNH, model 509, 9mm caliber, semi-

automatic handgun, bearing serial number GKS0175234, with a

corresponding 12 round, high capacity, 9mm caliber magazine;

                       (I)   I learned that ATF Special Agent James

Gustaw determined that this firearm was originally purchased in

the Las Vegas area of Nevada by an individual other than

MURADYAN, and therefore had been transported across interstate

lines to California;

                 iii. A large clear plastic bag containing a white

crystal-like substance resembling methamphetamine, approximating

one pound in weight;




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            b.   The CI gave MURADYAN $2,000 for the handgun, $600

for the Glock machinegun conversion device, and $1,800 for the

methamphetamine.

            c.   During the exchange, MURADYAN and the CI

discussed future firearm transactions with each other.

            d.   After the money exchange, the CI exited

MURADYAN’s vehicle with the methamphetamine and firearms,

carried them to the CI’s vehicle, and placed them inside.

      40.   In September of 2021, ATF SA Alexander Liwienski

examined the FNH semi-automatic handgun purchased from MURADYAN

and confirmed that it was manufactured outside of the State of

California.

      41.   At my request, the DEA Southwest Laboratory analyzed

the approximately one pound of suspected methamphetamine

MURADYAN sold to the CI on September 8, 2021.         Based on my

review of the DEA Chemical Analysis Report, I am aware that the

substance tested positive for 423 grams of methamphetamine.

      G.    MURADYAN Arranges to Sell a Machinegun, an AR-15 Style
            Rifle, Two Handguns and a Pound of Methamphetamine on
            September 29, 2021

      42.   In the days after the controlled purchase on September

8, 2021, the CI and MURADYAN spoke in recorded phone calls and

exchanged text messages about further firearms sales.           Based on

my review of the recordings of these conversations and of the

text messages, I know the following:

            a.   During their phone calls, MURADYAN indicated, in

both coded and non-coded language, that he had a fully automatic




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rifle, an AR-15 style rifle, and handguns available to sell to

the CI.

               b.   MURADYAN sent a text message to the CI containing

a photograph depicting two handguns.

               c.   On September 28, 2021, MURADYAN agreed to sell

the CI the “fully auto” rifle for $4,000; an “AR” for $3,000;

two handguns for $2,000 each; and a pound of methamphetamine for

$1,800.       MURADYAN and the CI agreed to meet on September 29,

2021.

                    i.   Based on my training and experience and my

participation in this investigation, I believe that MURADYAN was

referring to a fully automatic rifle when he stated “fully

auto,” and to an AR-15 style rifle when he stated “AR.”

        H.     A Federal Search Warrant is Executed

        43.    On September 24, 2021, the Honorable Margo A. Rocconi,

United States Magistrate Judge, issued warrants to search

MURADYAN, his vehicles, and his residence for evidence, fruits,

or instrumentalities of violations of 18 U.S.C. § 922(a)(1)(A)

(Dealing Firearms Without a License); 18 U.S.C. § 922(g)(1)

(Felon In Possession Of A Firearm And Ammunition); 26 U.S.C.

§ 5861(d) (Possession Of An Unregistered Firearm); 26 U.S.C. §

5861(i) (Possession Of A Firearm Not Identified By A Serial

Number); 18 U.S.C. § 922(o) (Possession Of A Machinegun); 21

U.S.C. §§ 846, 841(a)(1) (Conspiracy, Distribution, and

Possession With Intent To Distribute Controlled Substances); and

18 U.S.C. § 924(c) (Possession Of A Firearm During And In




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Relation To, and Carrying A Firearm In Furtherance Of, A Drug

Trafficking Crime).

      44.   Following a controlled purchase on September 29, 2021,

the federal search warrant was executed at MURADYAN’s residence,

located at 8112 Laurelgrove Avenue, North Hollywood, California,

91605; MURADYAN’s vehicle, a 2007 Silver Mercedes-Benz sedan

bearing California license plate 6ZEL932; MURADYAN’s second

vehicle, a 2012 International tow truck, bearing Nevada license

plate 844M08; and MURADYAN’s person.

      45.   Based on my conversations with other law enforcement

agents, and my own participation in the execution of the search

warrant, I am aware of the following:

            a.   Law enforcement seized from MURADYAN’s residence

approximately 20 firearms, including a suspected sawed-off

shotgun and a suspected AK-47 rifle; hundreds of rounds of

assorted ammunition; and firearms and ammunition component

parts.

            b.   Law enforcement seized from MURADYAN’s tow truck

one round of ammunition.

      I.    MURADYAN Does Not Hold a Federal Firearms License

      46.   At my request, ATF Industry Operations Investigator

Kyu Lee checked law enforcement databases and confirmed that

MURADYAN does not hold, and has never held, a Federal Firearms

License (“FFL”).     As such, MURADYAN does not have a license to

engage in the business of dealing in firearms.




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      J.    MURADYAN Does Not Have Any Firearms Registered to Him
            in the National Firearms Registry

      47.   At my request, ATF Industry Operations Investigator

(“IOI”) Kyu Lee conducted a query into the National Firearms

Registration and Transfer System.       This database contains

information on all firearms covered by the National Firearms Act

(“NFA”), which includes short barrel rifles and machineguns.            My

colleague determined that MURADYAN does not have any NFA

firearms registered to him.
      K.    MURADYAN Is Prohibited from Possessing Firearms

      48.   Prior to the purchase of firearms on August 25, 2021,

TFO Vasquez and I reviewed MURADYAN’s criminal history and

learned that MURADYAN has two previous felony convictions:

            a.   On or about May 7, 2009, MURADYAN was convicted

of a felony for a violation of California Penal Code § 459,

Burglary, in the Superior Court of the State of California,

County of Los Angeles, Case number LA059043; and

            b.   On or about January 20, 2011, MURADYAN was

convicted of a felony for a violation of California Penal Code §

459, Burglary, in the Superior Court of the State of California,

County of Los Angeles, Case number LA063412.

      49.   Based on MURADYAN’s felony convictions, he is

prohibited from owning or possessing firearms.

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                                   CONCLUSION

      50.   For all the reasons described above, there is probable

cause to believe that MURADYAN has committed a violation of 21

U.S.C. § 841(a)(1).


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 30th day of
September, 2021.



HONORABLE ALEXANDER F. MACKINNON
UNITED STATES MAGISTRATE JUDGE




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